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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the OIL RIG                 §               MDL No. 2179
       “DEEPWATER HORIZON” in the               §
       GULF OF MEXICO on                        §                SECTION: J
       APRIL 20, 2010                           §
                                                §          Judge Carl J. Barbier
                 Applies to:                    §      Magistrate Judge Sally Shushan
                                                §
                        Crawford v. BP, P.L.C., §
                             No. 2:10-CV-1540 §

          MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT M-I L.L.C.’s
           MOTION TO DISMISS PLAINTIFF’S CLASS ACTION COMPLAINT




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March 11, 2011


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                                        INTRODUCTION

         On April 20, 2010, an explosion and fire occurred on Transocean’s Deepwater Horizon

drilling rig that allegedly injured Plaintiff Doug Crawford. Based on a single alleged fact,

Plaintiff claims that M-I L.L.C. (“M-I”), the drilling fluids contractor on the rig, is liable for his

injuries under unspecified federal, state, maritime, and/or common law.             However, while

Crawford may have viable claims against some Defendants in this action, he has failed to plead a

cognizable claim against M-I. Crawford’s claims against M-I should therefore be dismissed.

                                    STATEMENT OF FACTS

         Plaintiff Doug Crawford was employed by Defendant Transocean and working on

Transocean’s drilling rig, the Deepwater Horizon, on April 20, 2010, when an explosion and fire

occurred aboard the rig. Compl. ¶¶ 2, 16, 18. Crawford alleges that he suffered physical and

emotional injuries as a result of the accident and brings suit against M-I and others. Id. ¶¶ 2, 22,

28. Crawford alleges that M-I was negligent with respect to its activities on the rig and that it is

strictly liable for injuries stemming from an ultrahazardous activity; he is seeking at least

$5,000,000.

                                   STANDARD OF REVIEW

         In order to survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), “a

complaint must contain sufficient factual matter, accepted as true, to ‘state a claim for relief that

is plausible on its face.’” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (quoting Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 570 (2007)). “A pleading that offers ‘labels and conclusions’ or a

‘formulaic recitation of the elements of a cause of action will not do.’” Id. (quoting Twombly,

550 U.S. at 555). “Nor does a complaint suffice if it tenders ‘naked assertion[s]’ devoid of

‘further factual enhancement.’” Id. (quoting Twombly, 550 U.S. at 557) (alteration in original);

accord Rutherford v. Louisiana, No. 10-1987, 2011 WL 692031, at *2 (E.D. La. Feb. 17, 2011).


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         A plaintiff must demonstrate “more than a sheer possibility that a defendant has acted

unlawfully.” Iqbal, 129 S. Ct. at 1949. This standard “demands more than an unadorned ‘the-

defendant-unlawfully-harmed-me accusation.’”         Id.; Shandong Yinguang Chem. Indus. Joint

Stock Co. v. Potter, 607 F.3d 1029, 1034 (5th Cir. 2010). “Where a complaint pleads facts that

are ‘merely consistent with’ a defendant’s liability, it ‘stops short of the line between possibility

and plausibility of ‘entitlement to relief.’’” Iqbal, 129 S. Ct. at 1949 (quoting Twombly, 550

U.S. at 557).     A plaintiff must plead facts establishing its causes of action against each

defendant; blanket assertions against all “Defendants” will not suffice. See, e.g., Powell v.

Dallas Morning News LP, 610 F. Supp. 2d 569, 580 (N.D. Tex. 2009); cf. Magana v. Hammer &

Steel, Inc., 206 F. Supp. 2d 848, 853 (S.D. Tex. 2002).

         In considering a motion to dismiss, the Court must accept factual allegations as true, but

it is “‘not bound to accept as true a legal conclusion couched as a factual allegation.’” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Papasan v. Allain, 478 U.S. 265, 286

(1986)). Where a complaint pleads facts that suggest the “mere possibility of misconduct,” it

must be dismissed. Iqbal, 129 S. Ct. at 1950. In addition, where a successful defense appears on

the face of the pleadings, the plaintiff has failed to demonstrate a plausible claim, and the claim

must be dismissed. See Hall v. Hodgkins, 305 F. App’x 224, 227-28 (5th Cir. 2008).

                                           ANALYSIS

         As an initial matter, Crawford fails entirely to identify the law governing his claims

against M-I. Instead, he invokes this Court’s jurisdiction under various federal statutes, general

maritime law, and diversity jurisdiction, never once specifying which body of law provides the

rules of decision for his claims. Compl. ¶ 14; see also id. ¶¶ 46, 47 (invoking “federal, Louisiana

law, and the laws of the other affected Gulf Coast States” and alleging that Defendants failed to

“conform their conduct to the appropriate”—unspecified—“legal standard”). This is fatal to his


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complaint as it utterly fails to put M-I on notice of the claims alleged against it. See, e.g., FED.

R. CIV. P. 8(a); Anderson v. U.S. Dep’t of Hous. & Urban Dev., 554 F.3d 525, 528 (5th Cir.

2008).

         Putting that aside, Crawford’s cursory and conclusory allegations fail to establish a

cognizable cause of action against M-I.          Crawford’s sole allegation concerning M-I’s

involvement with the Deepwater Horizon is that the company “provide[d] drilling fluid

(‘cement’) services to the rig Deepwater Horizon” and “in conjunction with Halliburton Energy,

failed to maintain appropriate drilling fluid weight before and during the cementing operations,

thus allowing highly combustible gas to escape from the well and ignite.” Compl. ¶ 22. Drilling

fluids are nowhere else mentioned in Crawford’s Complaint. This single allegation is wholly

insufficient to establish “more than a sheer possibility” that M-I is responsible for Crawford’s

injuries. Accordingly, his claims should be dismissed.

I.       Crawford’s Complaint Is Governed By Maritime Law.

         Despite alleging that his claims are variously governed by federal and/or state law, his

allegations establish that maritime law governs Crawford’s action. Where an injury occurs on

navigable waters and the incident involved has a substantial relationship to, or a potentially

disruptive impact on, maritime commerce, maritime law supplies the rules of decision. Jerome

B. Grubart, Inc. v. Great Lakes Dredge & Dock Co., 513 U.S. 527, 534 (1995). Here, Crawford

alleges that he was injured while working on the navigable waters over the Outer Continental

Shelf, Compl. ¶¶ 16, 18, and it is widely recognized that oil and gas drilling constitutes maritime

commerce. See, e.g., Theriot v. Bay Drilling Corp., 783 F.2d 527, 538-39 (5th Cir. 1986).

Accordingly, general maritime law governs Crawford’s claims, and state law does not apply to

this case. See E. River S.S. Corp. v. Transamerica Delaval, Inc., 476 U.S. 858, 864-65 (1986).




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II.      Crawford’s Single Factual Allegation Concerning M-I And His Blanket Allegations
         Concerning “All Defendants” Fail To Establish Cognizable Claims.

         A.      Crawford Has Failed To Plead A Claim For Negligence Under Any Theory
                 Of Relief.

                 1.    Crawford’s Single Cursory Factual Allegation Concerning M-I Is
                       Insufficient to Establish His Entitlement To Relief.

         Crawford has alleged a single fact regarding M-I’s involvement with the Deepwater

Horizon—that M-I provided drilling fluids on the rig and, “in conjunction with Halliburton

Energy, failed to maintain appropriate drilling fluid weight before and during the cementing

operations, thus allowing highly combustible gas to escape from the well and ignite.” Compl.

¶ 22. Despite alleging that Transocean was operating the rig at all times pertinent, id. ¶ 16, that

BP was responsible for the Macondo well, id. ¶ 17, and that Halliburton was handling cement

operations, id. ¶ 21, from his single, narrow allegation about M-I, Crawford makes the

unsupportable leap to alleging that all Defendants share equally in responsibility and blame for

his injuries. Such undifferentiated, blanket allegations fail to satisfy federal pleading standards.

See, e.g., Lane v. Cap. Acquisitions & Mgmt. Co., No. 04-60602 CIV, 2006 WL 4590705, at *5

(S.D. Fla. Apr. 14, 2006) (“By lumping all defendants together in each claim and providing no

factual basis to distinguish their conduct, the [] Complaint fails to satisfy the minimum pleading

standard of [Federal Rule of Civil Procedure] 8.”); see also Atuahene v. City of Hartford, 10 F.

App’x 33, 34 (2d Cir. 2001). A plaintiff “cannot simply ‘lump’ all the defendants together and

allege that the purported acts of every defendant can be imputed to every other defendant.”

Lippe v. Bairnco Corp., 225 B.R. 846, 860 (S.D.N.Y. 1998) (emphasis added). Indeed, while

Crawford offers a litany of alleged failures by “Defendants” which allegedly caused his injuries,

Compl. ¶ 45, not one of those failures involves drilling fluids and M-I is nowhere alleged to

have exercised authority or control over the drilling operations and employees on the rig.



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Crawford’s “naked assertion” of negligence is “devoid of further factual enhancement.” Iqbal,

129 S. Ct. at 1949.

         Even more flawed is Crawford’s claim for gross negligence by M-I. Gross negligence is

defined as “harm willfully inflicted or caused by gross or wanton negligence.” Todd Shipyards

Corp. v. Turbine Serv., Inc., 674 F.2d 401, 411 (5th Cir. 1982) (internal quotation omitted); see

also Becker v. Tidewater, Inc., 586 F.3d 358, 367 (5th Cir. 2009) (defining gross negligence in

the maritime context as “willful, wanton and reckless conduct that falls between intent to do

wrong and ordinary negligence” (internal quotation omitted)). Crawford’s singular allegation

that M-I “failed to maintain appropriate drilling fluid weight before and during the cementing

operations” does not allege—or even suggest—that M-I was acting with any intent to cause

Crawford’s injuries.1

         “To establish maritime negligence, a plaintiff must demonstrate that there was a duty

owed by the defendant to the plaintiff, breach of that duty, injury sustained by [the] plaintiff, and

a causal connection between the defendant’s conduct and the plaintiff’s injury.” See Canal

Barge Co. v. Torco Oil Co., 220 F.3d 370, 376 (5th Cir. 2000) (alteration in original) (internal

quotation omitted). Under any theory of negligence, Crawford’s allegations are insufficient to

demonstrate that M-I plausibly breached any duty owed to him, that the breach proximately

caused his injuries, and that M-I acted with willful and wanton intent. Especially now, with the

benefit of substantial discovery in this case, Crawford should be required to plead facts that

demonstrate M-I’s probable liability for his alleged injuries.                    The single fact as pled is

insufficient to establish Crawford’s entitlement to relief. Accordingly, his negligence claim

against M-I should be dismissed.


1
 As discussed further below, to the extent Crawford is alleging a gross negligence claim in furtherance of a punitive
damages award, such damages are disallowed in this case. See infra Section II.A.iii.


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         Similarly, Crawford’s assertion of negligence per se is wholly devoid of factual support.

Compl. ¶ 54. Negligence per se is a tort doctrine by which a court may adopt a legislative

standard as the standard of conduct against which to judge a defendant’s alleged negligent

conduct. Bell v. Am. Traffic Solutions, Inc., 633 F. Supp. 2d 305, 312 (N.D. Tex. 2009), aff’d in

part, vacated in part on other grounds, 371 F. App’x 488 (5th Cir. 2010). It can, in appropriate

circumstances, apply in the maritime context. See Fuszek v. Royal King Fisheries, Inc., 98 F.3d

514, 517 (9th Cir. 1996). Crawford alleges that “Defendants” are negligent per se due to their

(apparently, collective) “violation of applicable federal safety, construction, or operating

regulations.” Compl. ¶ 54. However, Crawford has failed to identify any regulation it claims

M-I violated, much less one specific to M-I’s alleged provision of drilling fluids on the rig.

Therefore, Crawford’s negligence per se claim against M-I must be dismissed.

                 2.     The Doctrine Res Ipsa Loquitur Cannot Be Applied In This Case.

         Crawford asserts that the doctrine of res ipsa loquitur applies in this case. Compl. ¶ 55.

However, his allegations foreclose the applicability of this doctrine.

         Res ipsa loquitur is an evidentiary principle that permits an inference of negligence in

certain narrow circumstances where the injury complained of is a type “which does not

ordinarily occur in the absence of negligence” and where “the cause of the harm is obvious.”

Brown v. Olin Chem. Corp., 231 F.3d 197, 200 (5th Cir. 2000) (emphasis added) (internal

quotation omitted). The doctrine can only be applied where the instrumentality alleged to have

caused the plaintiff’s injury was under “the exclusive control of the defendant.” Michaels v.

Avitech, Inc., 202 F.3d 746, 753 (5th Cir. 2000) (emphasis added); United States v. Nassau

Marine Corp., 778 F.2d 1111, 1115-16 (5th Cir. 1985) (emphasis added). And, the doctrine

applies only “where the likelihood of causes other than the defendant” is ruled out. Michaels,

202 F.3d at 754 (internal quotation omitted).


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         Here, the cause of the explosion that allegedly injured Crawford is far from “obvious,” as

evidenced by his litany of purported causes of the accident. Compl. ¶ 19 (defective blowout

preventer caused accident); id. ¶ 21 (faulty cementing caused accident); id. ¶ 22 (inappropriate

drilling fluid weight caused accident); id. ¶ 26 (violations of unspecified statutes caused

accident). Crawford’s allegations—especially his blanket allegations against all “Defendants”—

further establishes that the conduct of a party other than M-I cannot be eliminated as a more

probable cause of his alleged injuries. Toney v. United States, 273 F. App’x 384, 386 (5th Cir.

2008).

         Most damaging to Crawford’s claim, however, is his allegation that Transocean was “the

owner[] and/or operator[] of the Deepwater Horizon.” Id. ¶ 16. M-I is nowhere alleged to have

any control over the rig, much less exclusive control. Accordingly, the Court should find res

ispa loquitur inapplicable to Crawford’s claims against M-I in this case.

         B.      Crawford’s Strict Liability Claim Is Not Recognized Under Any Potentially
                 Applicable Law.

         Crawford alleges a claim for strict liability, asserting that offshore oil drilling constitutes

an “ultrahazardous activity.”      Whether an activity is ultrahazardous is a question of law.

Ainsworth v. Shell Offshore, Inc., 829 F.2d 548, 550 (5th Cir. 1987). Crawford does not specify

whether he brings his claim under general maritime or state law. As discussed above, maritime

law governs Crawford’s Complaint; regardless, his claim is not recognized under either body of

law.

         “[F]ederal maritime law . . . does not recognize the doctrine of strict liability for

abnormally dangerous or ultrahazardous activity.” In re Great Lakes Dredge & Dock Co.,

No. 92 C 6754, 1996 WL 210081, at *5 (N.D. Ill. Apr. 26, 1996) (collecting cases). Indeed,




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strict liability is only recognized under maritime law for certain products liability actions. EAC

Timberlane v. Pisces, Ltd., 745 F.2d 715, 722 n.13 (1st Cir. 1984).

         The doctrine has only “limited applicability” under state law and, in fact, the Fifth Circuit

has “conclude[d] that drilling operations are not ultrahazardous.” Ainsworth, 829 F.2d at 550

(emphasis added); see also Flynn v. Amoco Corp., No. 99-3476, 2001 WL 766968, at *4 (E.D.

La. July 9, 2001). In reaching its holding, the Court found the doctrine inapplicable to drilling

operations because such operations do not “present ‘a risk of harm that cannot be eliminated

through the exercise of due care.’” Ainsworth, 829 F.2d at 550 (quoting O’Neal v. Int’l Paper

Co., 715 F.2d 199, 202 (5th Cir. 1983)); see also Roberts v. Cardinal Servs., Inc., 266 F.3d 368,

383 (5th Cir. 2001).

         Thus, as Crawford’s strict liability claim is non-cognizable as a matter of law, it must be

dismissed.

III.     Crawford’s Claim For Punitive Damages Fails As A Matter Of Law.

         Notwithstanding the foregoing, to the extent Crawford has pled any cognizable claims

against M-I, he is limited to recovery of pecuniary damages. Miles v. Apex Marine Corp., 498

U.S. 19, 32 (1990); Scarborough v. Clemco Indus., 391 F.3d 660, 667 n.4 (5th Cir. 2004).

Relying on well-settled Supreme Court precedent, the Fifth Circuit has held that “neither one

who has invoked his Jones Act seaman status nor his survivors may recover non-pecuniary

damages from non-employer third parties.” Scarborough, 391 F.3d at 668; see also Miles, 498

U.S. at 32; Wilson v. Noble Drilling Corp., No. 08-4940, 2009 U.S. Dist. LEXIS 124302, at *6

(E.D. La. Aug. 12, 2009) (“[C]ases decided by the Supreme Court, the Fifth Circuit and the

judges of this court have repeatedly held that non-pecuniary damages, including punitive

damages, are not an available remedy for a Jones Act seaman . . . .”).




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         Here, Crawford asserts that he was employed by Transocean and working on a vessel in

the navigable waters over the Outer Continental Shelf when he suffered his alleged injuries.

Compl. ¶¶ 16, 18. As such, he qualifies as a Jones Act seaman. Chandris, Inc. v. Latsis, 515

U.S. 347, 353 (1995) (“The test of seaman status under the Jones Act is an employment-related

connection to a vessel in navigation.”) (alteration and internal quotation omitted). To the extent

he is seeking recovery for non-pecuniary damages, including, punitive damages, from M-I, such

damages claims are foreclosed under controlling law and should be dismissed.

                                               CONCLUSION

         For the foregoing reasons, M-I respectfully requests that this Court dismiss all claims

asserted against it in Crawford’s Class Action Complaint.2

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2
 In accordance with CMO 1, M-I reserves its right to contest Crawford’s class action allegations at such time as the
Court establishes a briefing schedule.


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                               CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing Memorandum of Law In Support Of M-I’s
Motion To Dismiss Plaintiff’s Class Action Complaint has been served on All Counsel by
electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order
No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United
States District Court for the Eastern District of Louisiana by using the Court’s CM/ECF System,
which will send a notice of electronic filing in accordance with the procedures established in
MDL No. 2179, on this 11th day of March, 2011.

                                           /s/ Hugh E. Tanner
                                           Hugh E. Tanner




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